Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 1 of 18

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Manuel P. Asensio, individually and as the parent
of Eva Asensio, a minor child,

Plaintiffs,
-against- 18 CV-10933

Janet DiFiore, Chief Judge of New York
State; Barbara Underwood, Attorney General
of New York State Andrew M. Cuomo,
Governor of New York State; Adetokunbo O.
Fasanya, New York County Family Court
Magistrate; and Emilie Marie Bosak,
individually,

Defendants.

 

OPPOSITION AFFIDAVIT BASED ON PENDING 28 U.S.C. §§ 351-364 COMPLAINTS AGAINST
THE KATZMANN-DIFIORE AGREEMENT AND RESULTING DISHONEST AND CORRUPT ACTS BY
ABRAMS-FAILLA

1.Manuel P. Asensio, being duly sworn, deposes and says:

2.1 am the plaintiff in this matter, and | make this affidavit in further opposition to the Motions to Dismiss

the complaint of the New York State Defendants and of Defendant Bosak.

3.This matter concerns rampant judicial corruption, actions taken by the State Defendants that are entirely
outside of any conceivable subject matter related to the Plaintiff or personal jurisdiction over the Plaintiff,
that could only have been performed by colluding with Defendant Bosak and that are outside of any
normal function of a judge or a state official or normal acts performed by a judge or how parties deal with

a normal judge. The Plaintiff has never claimed or imagined that he could move against any of the

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Defendants under any criminal code. However, undoubtedly the acts against him, his property and minor

daughter are clearly criminal in nature.

4.As such defendants’ motions to dismiss, based solely on arguments of law, beg the issue. Defendants did
not so muchas file a single affidavit of fact. That is because they are hiding the facts that must ultimately
be presented to a jury, just as the presiding judge in this matter, the presiding judge in the related matter
of Asensio et al. v. Roberts et al, 19 CV 03384 (“Asensio II”) and just as Chief Judge Robert A. Katzmann of

the Second Circuit Court of Appeals. They all are hiding the facts in this matter and in Asensio Il.

5.On May 10, 2019 the undersigned filed a judicial misconduct complaint against the Hon. Robert A.
Katzmann with the Judicial Council of the Second Circuit. A copy of this complaint is annexed hereto as

Exhibit 1.

6.The May 10, 2019 complaint against Judge Katzmann accuses Judge Katzmann of deliberately using his
government positions dishonestly for the corrupt purpose of entering into a protection agreement and
understanding with Janet Marie DiFiore, New York State’s Chief Judge, under which she is operating a
completely unconstitutional and illegal organization of judges that are trained to convert post-divorce

judgement child custody petitions into an income stream (“Katzmann-DiFiore Agreement”).

7.As a result, Judge Katzmann is obligated under the Katzmann-DiFiore Agreement to do everything in his
power to keep this complaint and the prior complaints filed by the undersigned from reaching the Judicial
Conference and the attention of the Hon. John G. Roberts, Jr., Chief Justice of the United States and

presiding judge of the Judicial Conference.

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8.The undersigned first requested that Judge Abrams recuse herself when she disposed of Motion 1 and
entered a one-sided stay, and then immediately after discovery that Judge Abrams had colluded with
Defendant DiFiore to plant a negative story about the Plaintiff and his case in the New York Daily News on
January 21, 2019, and most recently on April 17, 2019, the day after Asensio II was filed on April 16 since
as a party defendant Judge Abrams was required to do so pursuant to 28 U.S.C. Section 455(b)(iii), Canon
3(c)(1)(d)(i) and (iii) of the Code of Conduct for United States Judges and the Advisory Opinion 103 of the
Committee on Codes of Conduct of the Judicial Conference. A copy of this request is annexed hereto as

“Exhibit 2.”

9.Judge Abrams deliberately violated these commanding statutes and legal authority and refused to recuse
herself. The Hon. Katherine Parker Failla, to whom Asensio II had been assigned, in order to protect Judge
Abrams, dismissed Asensio II sua sponte on April 26, a mere ten days after it had been filed. A copy of

this Order of Dismissal is annexed hereto as “Exhibit 3.”

10. On May 9, 2019, the undersigned filed a judicial misconduct complaint against Judge Failla for
acting dishonestly with a corrupt motive in dismissing Asensio Il. This complaint explains in detail how
Judge Failla dismissed Asensio II in order to give cover to Judge Abrams’ deliberate violations of law so
that she could remain in the case to dismiss the present action with impunity, as Judge Abrams’ every
action indicates. A copy of the judicial misconduct complaint against Judge Failla is annexed hereto as

“Exhibit 4.”

11. It is against the background of these judicial misconduct complaints against Judge Katzmann and
Judge Failla that the undersigned has requested a stay of the present proceedings until the judicial

conduct complaints against Judges Abrams, Failla and Katzmann are resolved, or, in the alternative, fora

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further extension of time in which to oppose the defendants’ motions to dismiss. The undersigned filed
an application to this effect on May 9, 2019, a copy of which is annexed hereto as “Exhibit 5” and a further

application to this effect on May 10, 2019, a copy of which is annexed hereto as “Exhibit 6.”

12. The Defendants herein, in conjunction with the Federal judiciary who are protecting them, are
falsely alleging that the law provides them cover to dismiss the present action to avoid addressing the
facts of this case and to submit those facts to a jury. The law can only be relevant when judges apply it
fairly. In this case, where judges are protecting judges and the result pre-ordained from the moment that
Judge Abrams issued a one-sided stay in favor of the New York State Defendants, the legal arguments
made by Defendants are irrelevant to whether this case can be dismissed. The undersigned is a pro se
litigant fighting entrenched corruption in the judicial system that has deprived him of his most
comprehensive and unilateral freedoms of speech and religion, and liberty, and his fundamental civil right
to parent his daughter, teach her his values, and protect his property and liberty rights from corrupt judges
who would deprive him of them in order to further their dishonest agenda. As such the undersigned is

entitled at the very least to his day in court.

|, Manuel P. Asensio, swear that | am the Plaintiff in the above cited complaint, and the affiant in this
Affidavit. | swear that | am fully familiar with the facts, factors and circumstances contained in this
affidavit. | solemnly swear that the statements | make are complete and true to the best of my knowledge

including any matters stated upon personal information and belief.

   
 
   

| do soAwear:

Manuel P. Asensio
Plaintiff, Pro Se
A400 E. 54th Street, 29B
New York, NY 10022

(917) 515-5200 mpa@asensio.com
May 10, 2019

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EXHIBIT 1
 

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Manuel P. Asensio
400 East 54th Street, Apt. 29B
New York, New York 10022
O: 212-702-8001 C: 917-515-5200
mpa@asensio.com

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April 17, 2019 3 USDC-SDNY
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40 Foley Square, Courtroom: 1506 : — =.

New York, NY 10007

Re: Asensio, et al. v. DiFiore, et al., No. 1:18-cv-10933-RA-Statutory Mandated
Recusal and Modification of Stay.

Asensio et al v. the Hon. John G. Roberts, Jr., Chief Justice of the
United States and Presiding Justice of the Judicial Conference of the
United States et al. (“Asensio v. Roberts”) United States District Court
for the Southern District of New York, Docket Number 19 CV 03384
filed and entered on April 16, 2019!

Dear Judge Abrams:

This letter constitutes the Plaintiff's motion seeking Your Honor’s recusal in
the Matter of Asensio v. DiFiore et al, United States District Court for the Southern
District of New York (henceforth “Asensio v. DiFiore”).

Filed herewith is a copy of the above referenced complaint. The filing of this
complaint requires that you recuse yourself in the matter of Asensio v. DiFiore.

 

1 The Defendants are the Hon. Robert A. Katzmann (“Judges Katzmann’”}, the Chief Judge of the
United States Court of Appeals for the Second Circuit; and the Hon. Ronnie Abrams, a justice of
the US District Court for the Southern District of New York. The complaint incorporates the two
existing Judicial Conduct and Disability Act of 1980, 28 U.S.C. §§ 351-364 complaints against
Judges Katzmann and Abrams.

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Your Honor has complete ignored the Daily News matter. All of the matters
pertaining to this misconduct that are contained in the record of plaintiff's
applications for recusal is contained in the Docket at ECF numbers 26, 29, 30, 33,
34, 37, 40, 41, 42, 43, 43-1 and 43-2.

Application for Modification of Existing Stay:

This matter concerns the Plaintiff's unilateral rights.2 The State Defendants
are imposing themselves on these rights on a daily basis through judicial
corruption. Your Honor has made herself a witness by colluding with Defendant
DiFiore against the Plaintiffs on the central issue in this case. Therefore, | request
that your Honor enter an order modifying your Honor’s existing one-sided stay so
as to grant a full interim stay in this matter before your Honor recuses herself.

in light of the foregoing, it is clear that Your Honor is obligated to recuse
herself from the matter of Asensio v. DiFiore and to grant an immediate stay. A
prompt order to that effect should be issued promptly. Thank you.

ido so declare
Respectfully,

Zi Aaveed [horas

Manuel P. Agensio
Plaintiff
cc: William P. Barr
US Attorney General

 

Application denied. It is well-established that "a judge is not required to recuse .. . herself simply because a litigant before
the judge has filed suit or made a complaint against... her." Jenkins v. Sladkus, No. 04 Civ. 1595, 2004 WL 1238360, at
*1 (S.D.N.Y. June 3, 2004); see also U.S. v. Nagy, 19 F. Supp. 2d 139, 140 (S.D.N.Y. 1996) (denying defendant's motion
to recuse where defendant had filed suit against the judge alleging judge's prior decision finding defendant competent to
stand trial was improper). The rationale behind this principle is to prevent "judge-shopping" by litigants. Sa/ten v. Cy. of
Suffolk, No. 08-CV-5294 SJF AKT, 2012 WL 3260266, at *2 (E.D.N.Y. Aug. 6, 2012). Accordingly, the Court will not
permit Plaintiffto use motions for recusal “as a vehicle for judge shopping.” Nagy, 19 F. Supp. 2d at 140.

SO

  

 

 

Rompe Abts U.S.D.J.
Apri8-%019

 

2 These are rights that are fundamental to self-governed and self-determination that not collide
with any other person’s rights or government interest.

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EXHIBIT 2
Case 1:18-cv-10933-RA Document 67

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MANUEL P. ASENSIO, individually and as
the parent of E.A., a minor child,

Plaintiff,
-V. —

HON. JOHN G. ROBERTS, JR., Chief Justice
of the United States and Presiding Justice of
the Judicial Conference of the United States;
HON. ROBERT A. KATZMANN (“JUDGES
KATZMANN’), Chief Judge of the United
States Court of Appeals for the Second
Circuit; HON. RONNIE ABRAMS, a justice of
the US District Court for the Southern
District of New York,

Defendants.

 

 

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19 Civ. 3384 (KPF)

CIVIL JUDGMENT

Pursuant to the Court’s Order of April 26, 2019, dismissing this action,

ITIS ORDERED, ADJUDGED AND DECREED that this action is

dismissed. The Court dismisses Plaintiff's claims that he asserts on behalf of

his minor daughter, E.A, without prejudice. The Court dismisses the remaining

federal claims as barred by immunity or frivolous. The Court declines to

exercise supplemental jurisdiction over Plaintiff's state-law claims.

The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the

Court’s judgment would not be taken in good faith. See Coppedge v. United

States, 369 U.S. 438, 444-45 (1962).

Dated: April 26, 2019

f I, fo»
New York, New York Aiden Mphh. Kahr

 

 

 

A copy of this Order was mailed by Chambers to: KATHERINE POLK FAILLA

Manuel P. Asensio
641 Lexington Avenue
Suite 1533

New York, NY 10022

 

 

United States District Judge
Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 10 of 18

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MANUEL P. ASENSIO, individually and as the
parent of E.A., a minor child,

Plaintiff,
-V. -

HON. JOHN G. ROBERTS, JR., Chief Justice
of the United States and Presiding Justice of
the Judicial Conference of the United States;
HON. ROBERT A. KATZMANN (“Judges
Katzmann”), Chief Judge of the United States
Court of Appeals for the Second Circuit; HON.
RONNIE ABRAMS, a justice of the US District
Court for the Southern District of New York,

Defendants.

 

 

KATHERINE POLK FAILLA, District Judge:

19 Civ. 3384 (KPF)

ORDER OF DISMISSAL

Plaintiff Manuel P. Asensio appears pro se and asserts claims on behalf

of himself and his minor daughter.! Plaintiff asserts claims under 18 U.S.C.

§ 241, and 42 U.S.C. §§ 1983, 1985, 1986, and 1988. He also asserts claims

under state law. He sues Chief Justice John G. Roberts, Jr., of the Supreme

Court of the United States; Chief Judge Robert A. Katzmann of the United

States Court of Appeals for the Second Circuit; and District Judge Ronnie

Abrams of this Court, and he seeks damages. For the reasons discussed

below, the Court dismisses this action.

 

1 The complaint mentions Plaintiff's minor daughter’s full name. Under Rule 5.2(a)(3) of
the Federal Rules of Civil Procedure, however, a Court submission may only refer to a
minor child’s name by using the child’s initials. In an abundance of caution, the Clerk
of Court has restricted electronic docket access to the complaint to a “case-participant
only” basis. The Court refers to Plaintiff's minor daughter by her initials, E.A.
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STANDARD OF REVIEW

The Court has the authority to dismiss a complaint, even when the
plaintiff has paid the relevant fees to commence a federal civil action, if it
determines that the action is frivolous, see Fitzgerald v. First E. Seventh
Tenants Corp., 221 F.3d 362, 363-64 (2d Cir. 2000), or that the Court lacks
subject matter jurisdiction, Fed. R. Civ. P. 12(h)(3); Ruhrgas AGv. Marathon Oil
Co., 526 U.S. 574, 583 (1999). The Court is obliged, however, to construe pro
se pleadings liberally, Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009), and
interpret them to raise the “strongest [claims] that they suggest,” Triestman v.
Fed. Bureau of Prisons, 470 F.3d 471, 474 (2d Cir. 2006) (internal quotation
marks and citations omitted, emphasis in original).

A claim is frivolous when it “lacks an arguable basis either in law or in
fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989), abrogated on other
grounds by Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007); see also Denton v.
Hernandez, 504 U.S. 25, 33 (1992) (holding that “a finding of factual
frivolousness is appropriate when the facts alleged rise to the level of the
irrational or the wholly incredible”); Livingston v. Adirondack Beverage Co., 141
F.3d 434, 437 (2d Cir. 1998) (“[A]n action is ‘frivolous’ when either: (1) the
factual contentions are clearly baseless . . . ; or (2) the claim is based on an
indisputably meritless legal theory.” (internal quotation marks and citation

omitted)).
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BACKGROUND

In another pro se civil action pending in this Court before Judge Abrams,
Asensio v. DiFiore, No. 18 Civ. 10933 (RA) (“Asensio P’), Plaintiff sued New York
Court of Appeals Chief Judge Janet DiFiore, former Acting New York State
Attorney General Barbara Underwood, New York Governor Andrew Cuomo,
New York Family Court Judge Adetokunbo Fasanya, and Plaintiffs ex-wife,
Emilie Marie Bosak. Plaintiff's claims in Asensio I arise from his child custody
dispute with Bosak, the associated Family Court proceedings before Judge
Fasanya, Chief Judge DiFiore’s alleged failure to hold Judge Fasanya
accountable for his misconduct, and the other state officials’ alleged
acquiescence to Judge Fasanya’s misconduct, despite Plaintiff's complaints to
them about it.

In the present action, Plaintiff alleges that on March 5, 2019, Chief
Judge Katzmann and District Judge Abrams “planted” an unspecified “negative
story” in the New York Daily News about Plaintiff and Asensio lL (See Dkt. #2
at 2-3). Plaintiff also accuses them of “deliberate misconduct and
mismanagement” in Asensio I, including having ex parte communication with
Chief Judge DiFiore. (Id. at 2). He states that their purpose in planting the
story was to “sanction DiFiore’s scheme to fabricate jurisdiction over strictly
private family matters.” (Id. at 3). He alleges that the story is “their
communion with DiFiore.” Plaintiff states that “[t]he commune is a group of
New York federal judges that are allowing DiFiore to deliberately cause

misunderstanding for political purposes. They use agitation, aggravation,
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disturbances and disruptions in civil, peaceful, good American lives, such as
that of the Plaintiffs, to create income streams for their political purposes.” (Id.
at 3-4).

Plaintiff seems to assert claims against Chief Judge Katzmann arising
from his alleged failure to act on Plaintiffs judicial misconduct complaints
about District Judge Abrams. (See Dkt. #2 at 60-68, 74-77, 86-88). Similarly,
Plaintiff’s claims against Chief Justice Roberts seem to arise from his alleged
failure to act on Plaintiff’s judicial misconduct complaints about Chief Judge
Katzmann and District Judge Abrams. (See id. at 1-3, 17-33, 111-13).
Throughout Plaintiff's complaint, Plaintiff objects to the existence of the
domestic relations exception to the federal courts’ subject matter jurisdiction.

DISCUSSION
A. Plaintiff's Claims on Behalf of E.A.

The Court must dismiss Plaintiff's claims that he asserts on behalf of his
minor daughter, E.A. The provision governing appearances in federal court, 28
U.S.C. § 1654, allows two types of representation: “that by an attorney
admitted to the practice of law by a governmental regulatory body, and that by
a person representing himself.” Eagle Assocs. v. Bank of Montreal, 926 F.2d
1305, 1308 (2d Cir. 1991) (internal quotation marks and citation omitted).
Generally, a non-attorney parent cannot bring an action pro se in federal court
on behalf of a child. See, e.g., Tindall v. Poultney High Sch. Dist., 414 F.3d
281, 284 (2d Cir. 2005). “[B]ecause pro se means to appear for one’s self, a

person may not appear on another person’s behalf in the other’s cause. A
Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 14 of 18

person must be litigating an interest personal to him.” Jannacconev. Law, 142
F.3d 553, 558 (2d Cir. 1998); Cheung v. Youth Orchestra Found. of Buffalo,
Inc., 906 F.2d 59, 60 (2d Cir. 1990) (“[I]t is not in the interests of minors or
incompetents that they be represented by non-attorneys.”). Plaintiff does not
allege that he is an attorney. Accordingly, the Court dismisses Plaintiff's
claims that he asserts on behalf of E.A. without prejudice.

B. Judicial Immunity

The Court construes Plaintiff's claims under 42 U.S.C. § 1983 that he
brings on his own behalf against Defendants — all federal judges — as claims
of violations of his federal constitutional rights under Bivens v. Six Unknown
Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971). See
Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009) (“[Bivens] is the federal analog to
suits brought against state officials under [§ 1983].” (internal quotation marks
and citation omitted)); Morales v. City of New York, 752 F.3d 234, 237 (2d Cir.
2014) (holding that the district court properly construed § 1983 claims brought
against a federal employee as arising under Bivens). Federal courts have
analogized Bivens claims to those brought under § 1983; caselaw from § 1983
claims may be used to address issues in Bivens claims. See Butz v. Economou,
438 U.S. 478, 498-99 (1978); Shue v. United States, 466 F. App’x 51 (2012)
(summary order) (citing Tavarez v. Reno, 54 F.3d 109, 110 (2d Cir. 1995)).

The Court must dismiss Plaintiffs Bivens claims against Judge Abrams
arising from her rulings in Asensio I because those claims are barred by the

doctrine of judicial immunity. Judges are absolutely immune from suit for
Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 15 of 18

damages for any actions taken within the scope of their judicial
responsibilities. See Mireles v. Waco, 502 U.S. 9, 11-12 (1991); see also
Dorman v. Higgins, 821 F.2d 133, 137-39 (2d Cir. 1987) (applying judicial
immunity to Bivens claims). Generally, “acts arising out of, or related to,
individual cases before [a] judge are considered judicial in nature.” Bliven v.
Hunt, 579 F.3d 204, 210 (2d Cir. 2009). “[E]ven allegations of bad faith or
malice cannot overcome judicial immunity.” Id. at 209. This is because
“without insulation from liability, judges would be subject to harassment and
intimidation[.]” Young v. Selsky, 41 F.3d 47, 51 (2d Cir. 1994) (internal
quotation marks and citation omitted).

Judicial immunity does not apply when a judge takes action outside her
judicial capacity, or when a judge takes action that, although judicial in
nature, is taken in absence of all jurisdiction. Mireles, 502 U.S. at 11-12; see
also Bliven, 579 F.3d at 209-10 (describing actions that are judicial in nature).
But “the scope of [a] judge’s jurisdiction must be construed broadly where the
issue is the immunity of the judge[.]” Stump v. Sparkman, 435 U.S. 349, 356
(1978). |

Plaintiff asserts at least some Bivens claims against Judge Abrams that
arise from her rulings in Asensio I. Under the doctrine of judicial immunity,
however, Judge Abrams is immune from suit for those claims. The Court
therefore dismisses Plaintiff's Bivens claims against Judge Abrams that arise
from her rulings in Asensio I as frivolous, under the doctrine of judicial

immunity. See Mills v. Fischer, 645 F.3d 176, 177 (2d Cir. 2011) (“Any claim
Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 16 of 18

dismissed on the ground of absolute judicial immunity is ‘frivolous’ for

purposes of [the in forma pauperis statute].”); Montero v. Travis, 171 F.3d 757,
760 (2d Cir. 1999) (“A complaint will be dismissed as ‘frivolous’ when ‘it is clear
that the defendants are immune from suit.” (quoting Neitzke v. Williams, 490
U.S. 319, 327 (1989)})).

Cc. Plaintiff's Remaining Federal Claims

Even when the Court reads the complaint with the “special solicitude”
due pro se pleadings, Triestman, 470 F.3d at 474, the Court must dismiss
Plaintiffs remaining federal claims as frivolous. Plaintiffs allegations with
respect to these claims rise to the level of the irrational, and there is no legal
theory on which he can rely.2 See Denton, 504 U.S. at 33; Livingston, 141 F.3d

at 437.

 

2 Even if Plaintiff's remaining federal claims were not frivolous, Plaintiff’s allegations with
respect to these claims are insufficient to state a claim for relief under federal law. To
the extent that Plaintiff seeks Defendants’ criminal prosecution under 18 U.S.C. § 241,
a private citizen like himself cannot initiate ‘a criminal prosecution in a federal court.
See Leeke v. Timmerman, 454 U.S. 83, 86-87 (1981); Linda R.S. v. Richard D., 410 U.S.
614, 619 (1973). Plaintiff cannot assert that his constitutional rights were violated by
Chief Justice Roberts or Chief Judge Katzmann because of their failures to act on
Plaintiff's judicial misconduct complaints because there is no affirmative right to
government aid. See DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189,
196 (1989). Plaintiff’s allegations that Defendants — in particular, Chief Judge
Katzgmann and District Judge Abrams — engaged in a conspiracy to violate his federal
constitutional rights lack the factual support to state a conspiracy claim under Bivens
or 42 U.S.C. § 1985. See Stonerv. Young Concert Artists, Inc., 626 F. App’x 293, 296
(2d Cir. 2015) (summary order); Boddie v. Schnieder, 105 F.3d 857, 862 (2d Cir. 1997).
And if Plaintiff cannot allege sufficient facts to state a § 1985 claim, he cannot state a
related claim under 42 U.S.C. § 1986. See Graham v. Henderson, 89 F.3d 75, 82 (2d
Cir. 1996). Finally, pro se plaintiffs, including attorneys acting pro se, are not entitled
to attorney’s fees under 42 U.S.C. § 1988. See Kay v. Ehrler, 499 U.S. 432, 437-38
(1991).
Case 1:18-cv-10933-RA Document 67 Filed 05/11/19 Page 17 of 18

D. Plaintiff's State-Law Claims

A district court may decline to exercise supplemental jurisdiction over
state-law claims when it “has dismissed all claims over which it has original
jurisdiction.” 28 U.S.C. § 1367(c)(3). Generally, “when the federal-law claims
have dropped out of the lawsuit in its early stages and only state-law claims
remain, the federal court should decline the exercise of jurisdiction|.]”
Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988) (footnote omitted).
Having dismissed the federal claims over which the Court has original
jurisdiction, the Court declines to exercise its supplemental jurisdiction over
any state-law claims Plaintiff may be asserting. See Kolariv. New York-
Presbyterian Hosp., 455 F.3d 118, 122 (2d Cir. 2006) (“Subsection (c) of § 1367
‘confirms the discretionary nature of supplemental jurisdiction by enumerating

2

the circumstances in which district courts can refuse its exercise.” (quoting
City of Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 173 (1997))).
E. Leave to Amend

District courts generally grant a pro se plaintiff an opportunity to amend
a complaint to cure its defects, but leave to amend is not required where it
would be futile. See Hill v. Curcione, 657 F.3d 116, 123-24 (2d Cir. 2011);
Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. 1988). Because the defects in
Plaintiffs complaint cannot be cured with an amendment, the Court declines to

grant Plaintiff leave to amend.
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CONCLUSION

The Court dismisses this action. The Court dismisses Plaintiffs claims
that he asserts on behalf of his minor daughter, E.A, without prejudice. The
Court dismisses the remaining federal claims as barred by immunity or
frivolous. The Court declines to exercise jurisdiction over Plaintiff's
supplemental state-law claims.

The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from
this Order would not be taken in good faith, and therefore in forma pauperis
status is denied for the purpose of an appeal. See Coppedge v. United States,
369 U.S. 438, 444-45 (1962).

The Court directs the Clerk of Court to docket this Order as a “written
opinion” within the meaning of Section 205(a)(5) of the E-Government Act of
2002.

SO ORDERED.

Dated: April 26, 2019 ; : /] a
New York, New York Kathe iZ ahr fil

 

KATHERINE POLK FAILLA
United States District Judge

Sent by First Class Mail to:
Manuel P. Asensio

641 Lexington Avenue, Suite 1533
New York, NY 10022
